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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                     forthe
                                                       Western District    of Texas
                                                                                                                  2U19SEPII        AHII'OO
                 United States of America                              )
                            v.                                         )
                 Steven Andrew HOLGUIN                                 )      Case No




                           Defendant(s)                                                Q   c              3( 2.
                                                       CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best          of my knowledge      and belief.

On or about the date(s)      of             September 10, 2019                in the county    of             Hudspeth              in the

     Western           District of             Texas             ,   the defendant(s) violated:

             Code Section                                                        Offense Description
Title 8 U.S.0 § 1324 (a)(1)(A)(ii) a             knowing and in reckless disregard of the fact that an alien has come to,
                                                 entered, and remained in the United States in violation of law, did transport,
                                                 move, and attempt to transport and move such alien within the United States
                                                 in furtherance of said violation of law.




          This criminal complaint is based on these facts:
Ifurther state that I am a Homeland Security Investigations Special Agent and this complaint is based on the facts
stated within the attached affidavit:




          l( Continued on the attached sheet.

                                                                                                    Co4lainant 's signature




Sworn to before me and signed in my presence.


Date:             09/11/2019
                                                                                                       Judge 's signature

City and state:                           El Paso, Texas                              Robert F. Castaneda, U.S. Magistrate Judge
                                                                                                  Printed name and title
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                                   AFFIDAVIT

On September 10, 2019, at approximately 3 p.m., Steven Andrew HOLGUIN
approached the Sierra Blanca Border Patrol Checkpoint as the driver of a 2008
Ford Expedition with Texas registration. The vehicle was occupied with 5
passengers.

Border Patrol Agent (BPA) Ortiz questioned HOLGUIN as to his citizenship;
HOLGUIN replied that he was a U.S. citizen. BPA Ortiz noticed the 5 passengers
avoided eye contact and looked straight forward. BPA Ortiz also noticed
HOLGUIN kept looking around and mumbling as he spoke. BPA Ortiz questioned
the front passenger as to his citizenship, but the front passenger did not respond
and avoided eye contact. BPA Ortiz questioned one of the rear passengers
whom also did not reply and avoided eye contact. The vehicle was referred to
secondary for further inspection.

Once in secondary, all 5 passengers were determined to be citizens of Cuba
illegally present in the U.S. All occupants were taken into custody.

WI-Ol was advised of his Miranda Rights in the Spanish language and
subsequently waived his rights and elected to make a statement.

WI-Ol is I of 5 undocumented aliens (UDAs) apprehended in this event. WI-Ol
stated that on or about September 5, 2019, he and the other UDAs illegally
crossed the international border. Upon crossing, they contacted HOLGUIN by
calling a phone number provided to them by an alien smuggler in Juarez. Shortly
after, HOLGUIN picked them up and dropped them off at hotel in El Paso, TX.
WI-Ol stated that when HOLGUIN picked them up, he asked them if they had
just crossed the border and they all replied in the affirmative.

An immigration database check revealed that WI-Ol did not possess a valid
immigration visa, re-entry permit, border crossing card, or any other valid entry
document required by the Immigration and Nationality Act to remain in the United
States.

Homeland Security Investigations (HSI) Special Agent Gustavo Barraza advised
HOLGUIN of his Miranda Rights in the English language as witnessed by BPA
Harices. HOLGUIN waived his rights and elected to make a statement without
the presence of an attorney. The interview was audio and video recorded.

HOLGUIN admitted to knowingly transporting undocumented aliens from El Paso
to Austin, Texas in exchange for $1,500.

This affidavit is being submitted for the limited purpose of establishing probable
cause and does not set forth all my knowledge about this matter.
